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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                        Criminal No. 15-cr-20106-02
                                                      Hon. Matthew F. Leitman
v.

D2, DARRICK ADAMS,

               Defendant.
__________________________________________________________________/

      ORDER ALLOWING LAPTOP INTO PLACE OF DETENTION

      Upon Defendant’s need to view electronic discovery material in the facility

housing defendant, and the Court being aware of the refusal of detention facilities to

allow a laptop into their facility without a court order;

      IT IS HEREBY ORDERED that attorney Colleen Fitzharris shall be allowed

to visit defendant at his place of incarceration and enter the facility with a laptop

computer for purposes of reviewing discovery material in the above-captioned

matter.

      IT IS FURTHER ORDERED that a private and confidential area shall be

provided for the inmate visit.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: October 25, 2021
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 25, 2021, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-9764
